                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                        Case No.: 1:21−cr−00135
                                                          Honorable Edmond E. Chang
Alex Acevedo
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 31, 2023:


        MINUTE entry before the Honorable Edmond E. Chang as to Alex Acevedo: The
Court's Order dated 01/31/2023, R. 104, is corrected to reflect, Defendant Acevedo shall
participate in an interview, if any, with the probation department, within 14 days after the
determination of guilt. The remainder of the order remains. Emailed notice (mw, )




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